                                                                                           FILED
                                                                                   2023 Jul-20 AM 10:28
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA



               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHWESTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
            vs.                               )
                                              )
ERIC W. WOODS                                 )

                                 INFORMATION

     The United States Attorney charges:
COUNT ONE: [16 U.S.C. § 470ee(a)]
      That on or about the 26 th day of April, 2023, in Lauderdale County, within the
Northern District of Alabama, the Defendant, ERIC W. WOODS, on public lands,
that is lands owned and administered by the Tennessee Valley Authority, did
knowingly and unlawfully excavate, remove, damage, alter, and deface an
archaeological resource, that is a Native American artifact, all in violation of Title
16 United States Code Section 470ee(a).




                                          PRIM F. ESCALONA
                                          United States Attorney



                                          MICHAEL R. PILLSBURY
                                          Assistant United States Attorney
